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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


O. DOE, et al.,

                       Plaintiffs,

        v.                                            Case No. 1:25-cv-10135-LTS

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

                       Defendants.



STATE OF NEW JERSEY, et al.,

                       Plaintiffs,

        v.                                            Case No. 1:25-cv-10139-LTS

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

                       Defendants.




   BRIEF OF AMICUS CURIAE IMMIGRATION REFORM LAW INSTITUTE
IN SUPPORT OF DEFENDANTS AND IN OPPOSITION TO INJUNTIVE RELIEF
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                               INTEREST OF AMICUS CURIAE

         The Immigration Reform Law Institute (“IRLI”) is a non-profit 501(c)(3) public interest

 law firm dedicated to litigating immigration-related cases on behalf of, and in the interests of,

 United States citizens, and also to assisting courts in understanding and accurately applying

 federal immigration law. IRLI has litigated or filed amicus curiae briefs in a wide variety of

 cases, including Trump v. Hawaii, 585 U.S. 667 (2018); United States v. Texas, 599 U.S. 670

 (2023); Ariz. Dream Act Coalition v. Brewer, 855 F.3d 957 (9th Cir. 2017); Wash. All. Tech

 Workers v. U.S. Dep't of Homeland Sec., 50 F.4th 164 (D.C. Cir. 2022); and Matter of Silva-

 Trevino, 26 I. & N. Dec. 826 (B.I.A. 2016). 1

                                        INTRODUCTION

       On January 20, 2025, President Donald J. Trump signed an executive order titled

“Protecting the Value of United States Citizenship” (“EO”). This order provides that:

       United States citizenship does not automatically extend to persons born in the
       United States: (1) when that person’s mother was unlawfully present in the United
       States and the father was not a United States citizen or lawful permanent resident
       at the time of said person’s birth, or (2) when that person’s mother’s presence in
       the United States at the time of said person’s birth was lawful but temporary (such
       as, but not limited to, visiting the United States under the auspices of the Visa
       Waiver Program or visiting on a student, work, or tourist visa) and the father was
       not a United States citizen or lawful permanent resident at the time of said person’s
       birth.

Exec. Order No. 13989, 85 Fed. Reg. 512 (2025). It then directs the relevant federal agencies to

“take all appropriate measures to ensure that the regulations and policies of their respective

departments and agencies are consistent with this order, and that no officers, employees, or agents



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   No counsel for a party authored this brief in whole or in part and no person or entity, other
 than amicus curiae, its members, or its counsel, has contributed money that was intended to
 fund preparing or submitting the brief.
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of their respective departments and agencies act, or forbear from acting, in any manner

inconsistent with this order.” Id. Plaintiffs have filed suit in response to the EO, seeking a

preliminary injunction on the grounds that the order, on its face, violates the Citizenship Clause

of the Fourteenth Amendment.

          Plaintiffs’ claim is without merit. The Supreme Court, in the 1898 case United States v.

Wong Kim Ark, 169 U.S. 649 (1898), held that children born in the United States to non-citizen

aliens are only citizens by birth if their parents, at their birth, resided in the United States with

permission. And, because Plaintiffs’ claim presents a facial challenge to the EO, Plaintiffs bear the

burden of showing that “no set of circumstances exists under which [it] would be valid.” United

States v. Salerno, 481 U.S. 739, 745 (1987). Under the controlling precedent of Wong Kim Ark, the

EO is valid as applied in innumerable situations, such as to children of illegal aliens. Plaintiffs’

facial challenge thus fails, and injunctive relief should be denied.

                                            ARGUMENT

    I.       Legal Standard for a Preliminary Injunction

          A preliminary injunction is an extraordinary legal remedy that is only granted when the

requesting party demonstrates a need for such relief. A party seeking a preliminary injunction must

establish: (1) a likelihood of success on the merits; (2) a likelihood of suffering irreparable harm

without such preliminary relief; (3) that the balance of equities tips in the movant’s favor; and (4)

that an injunction is in the public interest. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7,

20 (2008). The burden of proof rests with the movant, who must demonstrate a substantial

likelihood of prevailing on the underlying claim, and that, absent the requested relief, the movant

will suffer irreparable harm that is both imminent and not compensable through monetary

damages. Id. at 22. Courts must weigh the competing equities between the parties, and assess

whether granting injunctive relief aligns with broader public policy considerations. Id. at 24.

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         Here, Plaintiffs cannot succeed on the merits of their claims. In addition, preliminarily

enjoining the EO would be contrary to the public interest.

   II.      Plaintiffs Cannot Establish a Likelihood of Success on the Merits

          The Citizenship Clause of the Fourteenth Amendment provides that “[a]ll persons born

 or naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the

 United States.” U.S. CONST. amend. XIV, § 1. The 1898 case United States v. Wong Kim Ark

 is often read as standing for, and indeed establishing, the widespread view that anyone born on

 American soil, at least to parents who are not members of a foreign country’s diplomatic

 delegation, part of an invading force, or Indians born in the allegiance of a tribe, enjoys

 birthright citizenship by virtue of this clause. United States v. Wong Kim Ark, 169 U.S. 649

 (1898). In fact, however, a careful reading of the case reveals its true holding to be, though

 broad, not as extreme as the conventional view: to have citizenship at birth under the Citizenship

 Clause, one must be born in the geographic confines of the United States to a person who, at the

 time of one’s birth, resided with permission in the United States.

          At issue in Wong Kim Ark was whether a son born to Chinese subjects while they were

 lawfully residing in the United States was a citizen at birth by virtue of the Citizenship Clause.

 The Court found that he was, explaining:

          The Fourteenth Amendment affirms the ancient and fundamental rule of
          citizenship by birth within the territory, in the allegiance and under the protection
          of the country, including all children here born of resident aliens, with the
          exceptions or qualifications (as old as the rule itself) of children of foreign
          sovereigns or their ministers, or born on foreign public ships, or of enemies
          within and during a hostile occupation of part of our territory, and with the single
          additional exception of children of members of the Indian tribes owing direct
          allegiance to their several tribes. The Amendment, in clear words and in manifest
          intent, includes the children born, within the territory of the United States, of all
          other persons, of whatever race or color, domiciled within the United States.
          Every citizen or subject of another country, while domiciled here, is within the
          allegiance and the protection, and consequently subject to the jurisdiction, of the
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         United States. His allegiance to the United States is direct and immediate, and
         although but local and temporary, continuing only so long as he remains within
         our territory, is yet, in the words of Lord Coke, in Calvin’s Case, 7 Rep. 6a,
         “strong enough to make a natural subject, for if he hath issue here, that issue is a
         natural-born subject;” and his child, as said by Mr. Binney in his essay before
         quoted, “if born in the country, is as much a citizen as the natural-born child of
         a citizen, and by operation of the same principle.” It can hardly be denied that an
         alien is completely subject to the political jurisdiction of the country in which he
         resides—seeing that, as said by Mr. Webster, when Secretary of State, in his
         Report to the President on Thrasher’s Case in 1851, and since repeated by this
         court, “independently of a residence with intention to continue such residence;
         independently of any domiciliation; independently of the taking of any oath of
         allegiance or of renouncing any former allegiance, it is well known that, by the
         public law, an alien, or a stranger born, for so long a time as he continues within
         the dominions of a foreign government, owes obedience to the laws of that
         government, and may be punished for treason, or other crimes, as a native-born
         subject might be, unless his case is varied by some treaty stipulations.” Ex. Doc.
         H.R. No. 10, 1st sess. 32d Congress, p. 4; 6 Webster’s Works, 526; United States
         v. Carlisle, 16 Wall. 147, 155; Calvin’s Case, 7 Rep. 6a; Ellesmere on Postnati,
         63; 1 Hale P.C. 62; 4 Bl. Com. 74, 92.

Id. at 693-94 (1898) (emphasis added). The Court then added an important proviso, in which it

conformed its reasoning to an earlier case:

         Chinese persons, born out of the United States, remaining subjects of the
         Emperor of China, and not having become citizens of the United States, are
         entitled to the protection of and owe allegiance to the United States, so long as
         they are permitted by the United States to reside here; and are “subject to the
         jurisdiction thereof,” in the same sense as all other aliens [lawfully] residing in
         the United States.

Id. at 694 (emphasis added) (citing, inter alia, Fong Yue Ting v. United States, 149 U.S. 698, 724

(1893)). See, e.g., The Concise Oxford Dictionary of Current English 825 (7th ed. 1919) (defining

“so long as” as “with the proviso, on the condition, that”).

          The phrase “subject to the jurisdiction thereof,” then, as used in the Citizenship Clause,

 refers not merely to being subject to the laws of the United States. Rather, it connotes being

 subject to the nation’s political jurisdiction, and “owing it direct and immediate allegiance.”

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 Wong Kim Ark, 169 U.S. at 680 (citing Elk v. Wilkins, 112 U.S. 94, 101-102 (1884)). As the

 Court earlier had held, in a passage cited in the above holding of Wong Kim Ark:

        Chinese laborers, [] like all other aliens residing in the United States for a shorter
        or longer time, are entitled, so long as they are permitted by the government of
        the United States to remain in the country, to the safeguards of the Constitution,
        and to the protection of the laws, in regard to their rights of person of property, and
        to their civil and criminal responsibility.

 Fong Yue Ting, 149 U.S. at 724 (emphasis added).

       “Reside” is defined in the 1890 edition of Webster’s Dictionary as “to dwell permanently

or for a considerable time; to have a settled abode for a time; to abide continuously; to have one’s

domicile or home.” Webster's International Dictionary of the English Language (Noah Porter ed.,

G. & C. Merriam Co. (1890). Black’s Law Dictionary (1891) defines “permission” as “[a] license

to do a thing; leave to do something which otherwise a person would not have the right to do.”

Thus, as used in Wong Kim Ark, the phrase “permitted to reside” applied to Chinese nationals, and

also aliens of nationalities other than Chinese, who resided here without being prohibited from

doing so.

        Not to regard the Court as holding permission to reside in the country to be a prerequisite

 for being subject to the jurisdiction of the United States for Citizenship Clause purposes would

 be to truncate the reasoning the Court gave for its judgment, ignore the precedents it cited, and

 make nonsense of its opinion. For example, the Court would then have left open the possibility

 (which it explicitly foreclosed, and had earlier foreclosed, Fong Yue Ting, 149 U.S. at 724) that

 those residing in the country while being prohibited from doing so were within the allegiance

 and protection of the United States, and thus subject to its jurisdiction. Indeed, an illegal alien,

 subject to apprehension, detention, and removal at all times, is hardly within the “protection” of

 the United States, as the phrase “allegiance and protection” has always been understood. See,


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e.g., Minor v. Happersett, 88 U.S. 162, 165-66 (1874) (“The very idea of a political community,

such as a nation is, implies an association of persons for the promotion of their general welfare.

Each one of the persons associated becomes a member of the nation formed by the association.

He owes it allegiance and is entitled to its protection.”) (emphasis added).

       The Court’s proviso requiring lawfully permitted residence is clearly part of its holding,

not dicta, under the principle that the Supreme Court may set forth a standard as part of its

holding in a case even when the Court finds that the standard has been met in that case. See,

e.g., Jackson v. Virginia, 443 U.S. 307 (1979) (holding that a federal court hearing habeas

corpus must consider whether there was legally sufficient evidence to support a conviction, not

just whether there was some evidence, and finding that the prosecution had met the former,

higher standard).

       Likewise, Wong Kim Ark did not leave open the question of whether persons born in this

country to persons who did not lawfully reside in the country were birthright citizens, merely

because Wong Kim Ark’s parents lawfully resided here. Rather, the standard it announced and

applied, which implies that those born in this country to illegal aliens, tourists, and others who

do not lawfully reside here are not birthright citizens, was and is part of the Court’s holding,

even though the Court found that Wong Kim Ark met that standard. (Wong Kim Ark’s parents

lawfully resided in the United States from 1873 until their return to China in 1890. 169 U.S. at

652-53.) Any view of “holding” that is more restrictive, at least if applied to the Supreme Court,

would rob the Court of its ability to set forth general principles of law to guide lower courts in

any case where the general principle it discerned happened to be met.

       It is true that the Court in Wong Kim Ark stated (in dicta) that “jurisdiction” had a unitary

meaning in the Fourteenth Amendment. 169 U.S. at 687. It is also true that “jurisdiction” for

purposes of the Equal Protection Clause was later held to be merely geographical. Plyler v. Doe,

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 457 U.S. 202, 215 (1982). But it cannot be concluded that the Plyler holding alters Wong Kim

 Ark’s holding that an alien, to be subject to the jurisdiction of the United States under the

 Citizenship Clause, must be permitted to reside in the country. A fortiori, Rodriguez de Quijas

 v. Shearson/American Express, Inc., 490 U.S. 477, 484 (1989) (“If a precedent of this Court has

 direct application in a case, yet appears to rest on reasons rejected in some other line of

 decisions, the Court of Appeals should follow the case which directly controls, leaving to this

 Court the prerogative of overruling its own decisions.”).

          It follows, then, that the EO has innumerable valid applications, including to children

born to illegal aliens, tourists, and others who do not lawfully reside in the United States.

Therefore, Plaintiffs’ facial challenge must fail. United States v. Salerno, 481 U.S. 739, 745

(1987) (“A facial challenge to a legislative Act is, of course, the most difficult challenge to mount

successfully, since the challenger must establish that no set of circumstances exists under which

the Act would be valid.”); see also AFSCME Council 79 v. Scott, 717 F.3d 851, 857-858 (11th

Cir. 2013) (applying the rule of Salerno to a facial challenge to an executive order).

   III.      Granting Injunctive Relief to Plaintiffs is Contrary to the Public Interest.

          The prevailing practice of granting birthright citizenship to all persons born in the United

States (with a few exceptions, such as children born to diplomats) is not only a fatal misreading

(at best) of Wong Kim Ark, but it has a result fundamentally at odds with one of the primary

purposes of United States immigration law since at least the Immigration and Nationality Act of

1952, which has been to formalize the process by which foreign nationals obtain legal status in

the United States and to prevent illegal immigration. Immigration and Nationality Act, Pub. L.

No. 82-414, 66 Stat. 163 (1952); Illegal Immigration Reform and Immigrant Responsibility Act

of 1996, Pub. L. No. 104-208, div. C, 110 Stat. 3009-546.



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        Granting birthright citizenship according to Plaintiffs’ theory undermines the structural

purpose of differentiating between legal and illegal immigration status in U.S. law by rewarding

unlawful entry and presence. It incentivizes birth tourism, which reduces citizenship to a mere

collection of material and social benefits rather than a reciprocal civic responsibility.

Additionally, it serves as a magnet for illegal immigration, placing pregnant mothers at risk as

they travel to the United States with the expectation of securing citizenship for their children.

        Finally, such an expansive grant of birthright citizenship endangers an orderly legal

immigration process by which the American people welcome newcomers who respect the rule of

law and seek to take on the responsibilities of lawful residence or citizenship. United States

citizenship is indeed “a most precious right,” Complaint at 6, which is precisely why it should

not be granted indiscriminately as a reward to those who either violate our laws or are merely

visiting.

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                                         CONCLUSION

          For the foregoing reasons, Plaintiffs’ request for a preliminary injunction should be

denied.

Dated: February 3, 2025                      Respectfully submitted,

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